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UNITED STATES OF AMERICA
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
V. : CRIMINAL NO. 3:23-CR-147
DARYL RINKER
Defendant
NOTICE

Pursuant to the October 21, 2020 amendment to Rule 5 of the
Federal Rules of Criminal Procedure the Court provides prosecution and
defense counsel with the following Notice that confirms the disclosure

obligation of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963)

and its progeny, to disclose exculpatory information to the defense in the
above-captioned case. Under Brady the prosecutor must produce
material evidence in its possession custody or control favorable to the
accused, which includes both exculpatory evidence and information which
may impeach government witnesses when that evidence is material either
to guilt or punishment. Such disclosures must be made in a timely manner
in order to allow the use of the exculpatory information in the defense of
the case and the failure to comply with this due process obligation may
result in dismissal of charges, exclusion of evidence or sanctions against

counsel.

